                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 UNITED STATES OF AMERICA                 )
                                          )
 v.                                       )      No. 3:11-CR-046
                                          )      Judge Phillips
 LAURA MELLOR                             )

                              MEMORANDUM & ORDER


       Defendant Laura Mellor has filed two pro se motions which are currently pending:

 a Motion to Correct Petitioner’s Sentence Pursuant to 18 U.S.C. § 3742 Motion [sic]

 Based On Incorrect Base Offense Level [Doc. 103] and a letter motion to reduce her

 sentence pursuant to Amendment 782 [Doc. 104]. The record reflects that Ms. Mellor

 was sentenced on November 30, 2012 to a 144-month term of imprisonment for violating

 21 U.S.C. §§ 846, 841(a)(1), and punishable pursuant to 21 U.S.C. § 841(b)(1)(C), for

 conspiracy to distribute and possession with intent to distribute a mixture and substance

 containing a detectable amount of oxycodone and heroin and that serious bodily injury to

 another person did result from that person’s use of heroin [Doc. 91].

       With regard to Ms. Mellor’s first motion [Doc. 103], she argues that her base

 offense level was incorrectly calculated and she should not be subject to the mandatory

 minimum sentence in 21 U.S.C. § 841(b)(1)(C).         Ms. Mellor includes reference to

 Amendment 782 in her analysis, although it is not clear that her motion is intended to be

 a motion for reduction of sentence pursuant to Amendment 782. She asks for the Court

 to “correct [her] advisory sentencing guideline range based on new legislation and




Case 3:11-cr-00046-TAV-DCP       Document 105       Filed 12/07/15       Page 1 of 3   PageID
                                       #: 425
 Supreme Court ruling” pursuant to 18 U.S.C. § 3742. However, 18 U.S.C. § 3742 does

 not provide this Court with authority to review or correct her sentence. Instead, this

 statute permits a defendant to file in this court a notice of appeal of her sentence to the

 appellate court; the review of her sentence is conducted by the appellate court. Ms.

 Mellor’s motion, however, does not request appellate review of her sentence and the

 Court further observes that any such request would be time-barred. See Fed. R. App. P.

 4(b)(1)(A).

        Prior to the enactment of the Antiterrorism and Effective Death Penalty Act, this

 motion automatically would have been deemed to be a motion to vacate, set aside or

 correct sentence under 28 U.S.C. § 2255. Ms. Mellor, however, has not labeled her

 submission as a § 2255 motion and such a recharacterization by the Court carries

 potentially adverse consequences of which Ms. Mellor may be unaware. One of those

 consequences is that it may make it substantially more difficult for her to file another §

 2255 motion because the motion would be subject to the restrictions on “second or

 successive” motions in 28 U.S.C. § 2255(h). See Castro v. United States, 540 U.S. 375,

 382—83 (2003) (before a pro se litigant’s motion may be recharacterized as a first §

 2255 motion, the district court must give certain warnings); accord, In re Shelton, 295

 F.3d 620, 622 (6th Cir. 2002). The Court also observes that any such request for § 2255

 relief would be time-barred. 28 U.S.C. § 2255(f).

        Therefore, the Clerk of Court is DIRECTED to mail the defendant a copy of this

 order, accompanied by the form which is used to file motions to vacate under § 2255. No

 later than January 8, 2016, the defendant must either: (1) fill out and return the attached
                                             2
Case 3:11-cr-00046-TAV-DCP        Document 105       Filed 12/07/15   Page 2 of 3    PageID
                                        #: 426
 preprinted form motion to signify that, in submitting her motion, she intended to bring a

 motion to vacate under § 2255; or (2) if she does not choose option (1), she must

 describe, in writing and in sufficient detail, the specific type of action or motion she is

 filing and explain the basis upon which the requested relief can be granted. If the

 defendant does not timely comply with this order, the court will assume that she does not

 wish to proceed in this matter and will deem her first motion [Doc. 103] withdrawn.

        With regard to her second pending motion [Doc. 104], defendant states that she is

 providing additional information for consideration when a forthcoming Amendment 782

 motion is filed by counsel on her behalf. As of this date, no such motion has been filed

 on defendant’s behalf. If a motion is filed by counsel, the Court will not consider

 defendant’s pro se filing, see E.D. Tenn. L.R. 83.4(c), and defendant is encouraged to

 provide any information for consideration regarding a sentence reduction motion

 pursuant to Amendment 782 to her counsel. Both pro se motions [Docs. 103, 104] will

 remain PENDING until defendant clarifies the type of relief she is seeking.

        IT IS SO ORDERED.



                                      s/ Thomas W. Phillips
                                    SENIOR UNITED STATES DISTRICT JUDGE




                                             3
Case 3:11-cr-00046-TAV-DCP        Document 105      Filed 12/07/15    Page 3 of 3    PageID
                                        #: 427
